         Case 1:15-cr-00867-RMB Document 356 Filed 11/22/17 Page 1 of 10



                                                                          1700 Broadway, 28 th floor
                                                                             New York, NY 10019
                                                                                   (212) 706-1850

Fleming                     o
                                                                    250 Moonachie Road, Suite 501
                                                                            Moonachie, NJ 07074
Cath y A. Fleming
                                                                                  (20 I) 518-7878
Direct Dial: 201-518-7907
cfl eming@flemingruvoldt.com                                                  Fax (201) 518-7879


                                            November 22, 2017


Via ECF
Honorable Richard M. Berman, U.S.D.J.
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street, Courtroom 17B
New York, New York 10007
                    Re:     U.S.A. v. Reza Zarrab, et al.
                            U.S. District Court for the Southern District of New York
                            S4 15-cr-00867 (RMB)
Dear Judge Berman:
       We respectfully submit this application to compel the testimony of FBI Special Agent
Jennifer McReynolds pursuant to the Court's permission in court on November 21, 2017. On
November 1, 2017, the defendant served a "Touhy Demand" in letter form on the United States
Department of Justice ("the DOJ"), in accordance with 28 C.F.R.§§ 16.21-16.26. The Touhy
Demand sought production of trial testimony from the case agent in this matter, Special Agent
Jennifer A. McReynolds. On November 9, 2017, the defense submitted an affidavit further
supporting the demand for Special Agent McReynolds's testimony. (See attached).

        Both the letter and the affidavit make clear the nature, scope, and relevancy of the
proposed testimony. As stated above, Special Agent McReynolds is the case agent in this matter.
Additionally, she was present during the defendant's arrest at JFK Airport and interacted
substantially with him there. Among other things, she interviewed him both before his arrest and
thereafter. The relevance of her potential testimony is therefore patent. She also swore to the
allegations in the Complaint. (As we have noted in previous papers, Agent McReynolds
misidentified the voice of the Defendant on at least one of four recordings used to establish
probable cause.) Nevertheless, on November 20, 2017, AUSA Lockard advised us that the FBf
has rejected our request for the case agent' s testimony. We have requested that the FBI send a
written rejection, but wanted to make this application to compel testimony as soon as practicable.
The DOJ has rejected the Touhy Demand as overly broad and insufficiently specific to enable
the DOJ to determine the relevant areas of testimony.
        Case 1:15-cr-00867-RMB Document 356 Filed 11/22/17 Page 2 of 10




November 22, 2017
Page 2



        The defendant believes that the so-called "Touhy Regulations" are unconstitutional in the
context of a federal criminal proceeding. The Ninth Circuit Court of Appeals has held that
Touhy regulations promulgated by the Department of Homeland Security violated due process in
a criminal case by "failing to provide reciprocal discovery." United States v. Bahamonde, 445
F.3d 1225, 1229 (9th Cir. 2006) (reversing conviction where district court did not require
testimony of agent who sat through trial for defendant's failure to comply with Touhy.)
Although the Second Circuit has not addressed this issue in a precedential opinion, lower courts
in this Circuit regularly apply Touhy in federal criminal cases. See, e.g., United States v. Huong
Thi Kim Ly, 798 F.Supp.2d 467,476 (E.D.N.Y. 2011), aff'd, 507 F. App'x 12 (2d Cir. 2013) ("It
is well-settled that a government employee may not be compelled to testify as to specific matters
where appropriate agency authorization has not been given." (citing, United States ex rel. Touhy,
340 U.S. 462 (1951)); United States v. Gonzalez, No. 06 Cr. 542 (LAK) (S.D.N.Y. Oct. 20,
2009) (Oct. 20, 2009 Tr. (Dkt. No. 55) at 20, 25) (ruling that the defendant will "have to comply
with [Touhy regulations] if [he] want[s] [law enforcement] witnesses" to testify, and stating that
the court is "not going to force the government to produce [law enforcement] witnesses unless
and until the Touhy regulations are complied with"). 1

        In United States v. Eldridge, 29015 WL 4878141 (W.D.N.Y. August 14, 2015), however,
the District Court rejected a Government request for reconsideration of a prior ruling granting a
defense motion for a subpoena to an Assistant United States Attorney for trial testimony on what
the Court called "narrow topics" that were "relevant and appropriate," without requiring strict
compliance with the DOJ's Touhy Regulations. That ruling should be followed here. Without
waiving the argument of unconstitutionality, but in light of the pendency of the trial, the
defendant now seeks the intervention of the Court to compel the testimony of Special Agent
McReynolds, the case agent, as a defense witness if she is called.



                                                     Respectfully yours,


                                                      Isl Cathy A. Fleming
                                                     Cathy A. Fleming

cc: All Counsel of Record




1Other circuit courts have likewise concluded that Touhy applies in federal criminal cases. See, for example, United
States v. Lyimo, 574 F. App'x 667, 671 (6th Cir.2014); United States v. Baker, 496 F. App'x 20 I, 203 (3d Cir.
2012); United States v. Soriano-Jarquin, 492 F.3d 495, 504 (4th Cir. 2007); United States v. Wallace, 32 F.3d 921,
929 (5th Cir. 1994); United States v. Bizzard, 674 F.2d 1382, 1387 (J Ith Cir. 1982).
Case 1:15-cr-00867-RMB Document 356 Filed 11/22/17 Page 3 of 10




                 ATTACHMENT 1
         Case 1:15-cr-00867-RMB Document 356 Filed 11/22/17 Page 4 of 10




The Law Fiu.•Jln                                                                  1700 Broadway
                                                                                        28th floor
                                                                             New York, NY 10019

Fleming                                                                           (212) 706-1850

                                                                             250 Moonachie Road
Cathy A. Fleming
                                                                                        Suite 501
Direct Dial: 201-518-7907
cfleming@flemingruvoldt.com                                                  Moonachie, NJ 07074
                                                                                  (201) 518-7878


                                         November 9, 2017




Via Federal Express
Kenneth A. Blanco, Esq.
Acting Assistant Attorney General
Criminal Division
United States Department of Justice
Room 2107
950 Pennsylvania Ave., NW
Washington DC 20530-000 1


                   Re:   U.S.A. v. Reza Zarrab, et al.
                         U.S. District Court for the Southern District of New York
                         S4 15-cr-00867 (RMB)
Dear Mr. Blanco:

        This firm is co-counsel to defendant Mehmet Hakan Atilla in the above matter. On his
behalf, we are submitting this letter as a formal demand under the Touhy regulations, 28 C.F.R.
§16.21-§ 16.26, for production from the Metropolitan Correctional Center in Manhattan, New
York and from the Metropolitan Detention Center in Brooklyn, New York of copies of (a) the
visitor log, including legal visitor log, for inmate Reza Zarrab, a/k/a Riza Sarraf from January 1,
2017 until October 31, 2017 and (b) all audio recordings of telephone communications initiated
by Reza Zarrab ("Zarrab Communications") between March 27, 2017 and April 4, 2017,
including but not limited to Zarrab Communications placed through the telephone accounts of
inmates other than Zarrab. The documents are needed in connection with the trial in the above
matter, which is scheduled commence with jury selection on November 20, 2017.
       I am also submitting this letter and the accompanying Affidavit in further support for our
November 1, 2017 request (the "November 1 Letter") for the trial testimony of Special Agent
("SA") Jennifer McReynolds of the Federal Bureau of Investigation.
         Case 1:15-cr-00867-RMB Document 356 Filed 11/22/17 Page 5 of 10




November 9, 2017
Page2




        In submitting this demand, we do not waive the defendant's assertion that the Touhy
regulations are unconstitutional and/or inapplicable within the context of a federal criminal
proceeding.
        The materiality and relevance of the testimony of SA McReynolds is set forth in the
November l Letter. The defendant may seek to call other Department of Justice witnesses to
testify at trial depending upon the testimony, documentary evidence and Jencks material
produced at or just prior to the trial. Counsel for the defendant continues to interview prospective
witnesses for the trial and reserves the further right to supplement this request as new
information is learned.

                                              Very~your,

                                               ~
                                              Robert . Fettweis
 Cc:    By Email:
        Victor Rocco
        Thomas Thornhill
        David Rosenfield

        Assistant United States Attorneys:
        Michael D. Lockard
        Sidhardha Kamaraju
        David W. Denton, Jr.
         Case 1:15-cr-00867-RMB Document 356 Filed 11/22/17 Page 6 of 10



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,                             S4 15-cr-00867 (RMB)

        V.                                             AFFIDAVIT OF
                                                       ROBERT J. FETTWEIS
 REZA ZARRAB, et al.

                        Defendants.



STATE OF NEW JERSEY           )
                              ) ss:
COUNTY OF BERGEN              )


       Robert J. Fettweis, of full age, being duly sworn according to law, deposes and says:

       1.      I am a member of the firm of Fleming Ruvoldt PLLC, co-counsel to defendant

Mehmet Hakan Atilla ("Mr. Atilla") in the above matter. I am making this affidavit in support of

the defendant's request to the United States Department of Justice ("DOJ") for the production of

documents at trial in the above matter, and to supplement the prior request for the testimony of

Special Agent ("SA") Jennifer McReynolds of the Federal Bureau of investigation. Trial is

scheduled to commence with jury selection on November 20,2017.

       2.      I have reviewed the accompanying November 9, 2017 letter from this firm to

Kenneth A. Blanco, Acting Assistant Attorney General of the Criminal Division of the DOJ.

The documents sought therein are, I believe, material and relevant to the defense of Mr. Atilla.

       3.      I have also reviewed the November 1, 2017 letter to Mr. Blanco regarding the

proposed trial testimony of SA McReynolds. A copy of that letter is attached as Exhibit A hereto.
        Case 1:15-cr-00867-RMB Document 356 Filed 11/22/17 Page 7 of 10



I believe the letter correctly sets forth the factual basis for and summary of the proposed

testimony. I further believe that the proposed testimony would be material and relevant to

Mr. Atilla's defense.




Sworn ro~nd subscribed before
me this +.-.day of November, 2017


 ~~
Notary Public
          DONNA L. RIVERA
     NOTARY PUBLIC OF NEW JERSEY
         Comm. # 50052992
      My Commission Expires 1/19/2022




                                                 2
               Case 1:15-cr-00867-RMB Document 356 Filed 11/22/17 Page 8 of 10



/--,.,,.,
\        ;




c,               EXHIBIT A



(   '--·
           )
           Case 1:15-cr-00867-RMB Document 356 Filed 11/22/17 Page 9 of 10




., ,r~ ··tA~nr ;·t··'inn
1-:w,:                                                                                        I 700 Brt1mh1 ay
                                                                                                    28'11 !l11llr
                                                                                     Ne" Yori... NY 10019
                                                        n                                 (~I:! l 706-1 X50

                                                                                     250 rv1nnn:ichic 1{11ad
Cath~ i\ . FkminJ!                                                                                  Suite 50 I
l>irect l>i:ll: 201-5 18-7907
cflemin1?1ii)Oemin~ru,·oldt.corn                                                     Mul111;11.:hic. NJ 0707-1
                                                                                            (20I)5I8-?S?R



                                               November I • 2017




Dy Federal Express
Kenneth A. Blanco. Esq.
Acting Assistant Attorney General
Criminal Division
United States Dcpartmcm of Justice
Room 2107
950 Pennsylvania Ave .. NW
Washington DC 20530-000 I


                     Re:      ll.S.A. v. Reza Zarrab. ct al.
                              U.S. District Court for the Soutlll·rn Dis1ric1 of Nc·w Y(irk
                              S4 15-cr-00867 ( RM 11)

 Dear Mr. Blanco:
         This tim1 is co-counsel to ddcn<lanl Mch1m:1 I lakan Atilla in the ahn\'c matter. On his
 behalf. we arc submitting this lcncr as a formal demand under the Touhy regulations.
 28 C.F.R.§16.21-~16.26. for testimony al trial from Federal Bureau of l1wcstigation Spcci::1I
 Agent ( ..SA") .Jennifer McRcynnlds. In subrnilling !his demand. \\'C do not ,,·nivc the
 defendant· s assertion Lhnt the To11hy n:gulati(ms arc unconstitutional ancl!or inapplkahk "ithin
 the context or a lcderal criminal proceeding. We simply make a Touhy request for expedition.
         The defendant nwy seek to call other Department of Justice \\'itncsses lo kstify al lrinl
 depending upon the testimony. documcmary c,·idcncc and Jencks material produced al tir just
 prior to the trial. as well as upon hearing Cio,·crnmcnl \\'itnesscs testify al trial. C<iunsd for the
 defendant continues to interview prospccti,·c witnesses ILir the trial and rcscn·cs the further right
 to supplement this request as new inrormation is learned.
         Case 1:15-cr-00867-RMB Document 356 Filed 11/22/17 Page 10 of 10




Non:mhcr I. 2017
Page 2




1\.      Requested Tcstimunv
        SA Md{cynolds swore to the aflida,·it for lhc issua111.:<.: t>l'thc criminal Complaint that kd
to the arrest orTurkish citizen Atilla on March 27. 20 17 at JFK Airpnn in New Ynrk. She is the
case agent \\'ho has worked on lhe case. Thus. she has c:--tcnsivc knowledge or lhc alkgations i11
this case. In her aflidavit. she set forth in some detail the pmportcd factual basis l<,r the
defendant's arrest. She intcr::H.:ted substantially \\'ith him at the airport prior to his arrest and
participated in interviewing him both heforc his arrest .ind thcrealicr.

       Jury selection in this matter is cuJTcntly scheduled for No,·cmhcr 21.2017.      \~'l'   therefore
seek your earliest attention tu this demand.


                                                V cry truly ) l)ttrs.




 cc:     Ry Email:
         Victor Rocco
         Thomas Thornhill
         David Rosenfield

         Assistant United States Attorneys:
         Mid1acl D. Lockard
         Sidhardha Kamaraju
         David W. Denton . .Ir.
